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                     IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                                 DIVISION OF ST. CROIX


JAMILA RUSSELL and LAURITZ THOMPSON, III,

                                                 Plaintiffs, Civil No. 1:15-CV-00049

       v.                                                     ACTION FOR
                                                              DAMAGES
SUPERIOR COURT MARSHAL CHRISTOPHER
RICHARDSON, IN HIS INDIVIDUAL AND                             JURY TRIAL
OFFICIAL CAPACITY, GOVERNMENT OF THE                          DEMANDED
VIRGIN ISLANDS and SUPERIOR COURT OF THE
VIRGIN ISLANDS,

                                               Defendants.



                     MEMORANDUM OF LAW IN SUPPORT OF
             MOTION FOR RECONSIDERATION, CLARIFICATION OF ORDER
                                    AND
                       FOR A MORE DEFINITE STATEMENT


               Comes Now, the Superior Court of the Virgin Islands and Deputy Marshal

Christopher Richardson and hereby move this Honorable Court pursuant to Rules 12(e), 59(e)

and 60(a)FRCP’s for reconsideration of its Order of May 16, 2017, for clarification of the Order

and for an Order requiring Plaintiffs to file an amended pleading more fully detailing the facts

that support Plaintiff Thompson’s claims of violation of his Constitutional rights. In support

thereof, Defendants herein state as follows:



                           I.      REQUEST FOR CLARIFICATION

   Initially, the Superior Court seeks clarification on the dismissal of Count III. In a footnote on

page 24 of the Memorandum Opinion (ECF #115), the Court notes that the Plaintiff has
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mistakenly designated both Counts III and IV in its First Amended Complaint as Count “III”.

Later in the second paragraph on page 4 of the Memorandum Opinion the Court indicates that it

is dismissing “Counts III and IV”. Based on the description of the claims being dismissed

contained in that paragraph it appears that the dismissal is intended to encompass both of the

claims designated as “Count III” but not the one designated as “Count IV”. However, because

the First Amended Complaint does in fact have two Counts designated as “III” followed by one

designated as “IV” and the Memorandum Opinion does not specifically state that it is dismissing

only the two Counts designated as “III”, the Superior Court hereby request clarification as to

whether the Court has dismissed both Counts designated as “Count III” as well as the Count

designated as “Count IV” or just the two Counts designated as “III”.



                    II.     MOTION FOR A MORE DEFINITE STATEMENT

    The Third Circuit has held that when a lack of factual specificity in the complaint prevents

the Defendant from making a fact specific qualified immunity defense the “appropriate remedy

is the granting of a defense motion for a more definite statement under Federal Rule 12(e).”

Thomas v. Independent Township, 463 F.3d. 285, 289 (3rd Cir. 2006). Moreover;”[e]ven when a

defendant does not formally move for a more definite statement, the district court has the

discretion to demand more specific factual allegations in order to protect the substance of the

qualified immunity defense and avoid subjecting government officials, who may be immune

from suit, to needless discovery and the other burdens of litigation.” Id. Beyond this however, if

discovery is required, it should be limited in scope. Id.
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    In Children First Found, Inc. v. Legreide, 373 Fed. Appx. 156 , 158, (3d Cir. 2010) the Third

Circuit noted that: “[i]n Thomas, we emphasized that when a qualified immunity defense is

raised, discovery should not proceed until the court evaluates whether the plaintiff has alleged

the violation of clearly established rights. As the district court had failed to do this, we vacated

its denial of Defendants' motion to dismiss on grounds of qualified immunity, and remanded so

that the court could address the defense.” (citations omitted).

    According to the Court in Legreide, “Thomas reemphasized the line of cases holding that, if

a defendant raises a qualified immunity defense, until the "'immunity question is resolved,

discovery should not be allowed.'" Id. at 291 (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818,

102 S. Ct. 2727, 73 L. Ed. 2d 396 (1982)). "Thus, '[u]nless the plaintiff's allegations state a claim

of violation of clearly established law; a defendant pleading qualified immunity is entitled to

dismissal before the commencement of discovery.'" Id. (quoting Mitchell v. Forsyth, 472 U.S.

511, 526, 105 S. Ct. 2806, 86 L. Ed. 2d 411 (1985))”. Children First Found., Inc. v. Legreide,

259 Fed. Appx. 444, 445 (3d Cir. 2007).

    In the Court’s Memorandum Opinion of May 16, 2017 the Court has denied Deputy

Richardson’s Motion to dismiss the Section 1983 action against him on the basis of qualified

immunity because of an inadequate factual record. (ECF #115 pg. 5). Under the foregoing case

law, the course of action most protective of the Defendants’ immunity defense would be to Order

Plaintiffs to submit a more definite statement and to hold discovery in abeyance until a

determination on immunity can be made, or if necessary, limit the scope of discovery to only

such areas that will aid in making such a determination. Thomas at 289.
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    Accordingly, it is respectfully requested that this Honorable Court reconsider its order

requiring general discovery to move forward and instead issue an order requiring a more definite

statement and hold discovery in abeyance until such time as it can be determined whether limited

discovery is needed to facilitate the evaluation of the Defendant’s Claim for qualified immunity.



                            III.    MOTION FOR RECONSIDERATION

          Additionally, the Defendants request that the Court reconsiders its Order denying the

dismissal of Count V “Gross Negligence”, on the basis that it lacks subject matter jurisdiction

over that count and finds that the Defendants are protected by sovereign immunity from suit and,

in the event Count IV “Vicarious Liability”, has not already been dismissed, that the Court also

reconsider its decision thereon and dismiss that Count as well on the same basis.

1. Gross Negligence: In its Order, the Court denied the Government’s Motion to Dismiss Count

V, entitled “Gross Negligence”, (ECF #22, pg. 9), because the GVI had only brought up the

legal prohibition against awards for gross negligence under the Virgin Islands Tort Claim Act in

its Reply brief. However, because this ruling goes to the subject matter jurisdiction of the Court

and implicates sovereign immunity, it should be addressed prior to proceeding any further in this

matter.

          The Government of the Virgin Islands, including the Superior Court, are cloaked with

sovereign immunity pursuant to Federal law, (Revised Organic Act of 1954 Section 2(b); 48

U.S.C. 1541,) See, Ocasio v. Bryan, 374 F.2d 11 (3d Cir. 1967).           Thus, to the extent it

specifically has not been waived by Section 3408(b) of the Virgin Islands Code, with respect to

claims for gross negligence, it goes to the Court’s jurisdiction over the allegations thereof and
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presents a question of law which may be raised at any time, (Rule 12(h)(3) FRCP) and which

must be resolved by the Court. See, i.e Carswell v. Borough of Homestead, 381 F. 3d 235, 242

(3rd Cir. 2004), cited in Legreide, 373 Fed. Appx at 159.Larsen v. Senate of the Commonwealth,

154 F.3d 82, 86-87, (3d Cir. 1998). Moreover, in spite of the general authority of the Court to

decline to consider arguments raised for the “first time in a reply brief”, the Court also has the

discretion to address such an argument subject to Plaintiffs having the opportunity to respond.

Charleswell v. Chase Manhattan Bank, N.A., 223 F.R.D. 371, 377 citing United States v.

Medeiros, 710 F. Supp. 106, 110 (M.D. Pa. 1989). (Memorandum Opinion, ECF# pg. 6), The

exercise of the Court’s discretion to hear this matter now is even more compelling given that it is

well-settled that a state may raise the defense of sovereign immunity for the first time even on

appeal. See, Sosna v. Iowa, 419 U.S. 393, 396 n.2, 42 L. Ed. 2d 532, 95 S. Ct. 553 (1975).

        The question of sovereign immunity is an important one which impacts directly on this

action. In Rosa-Diaz the Third Circuit noted that the District Court properly concluded that the

state-law claims of the Plaintiff therein, namely negligence and intentional infliction of

emotional distress; were barred by Pennsylvania's sovereign immunity statute. It further noted

that, “….. employees of Commonwealth agencies acting within the scope of their duties enjoy

immunity for their negligent acts….” and “from "intentional tort claims." La Frankie v. Miklich,

152 Pa. Commw. 163, 618 A.2d 1145, 1149 (Pa. Commw. Ct. 1992).” Rosa-Diaz v. Dow, 2017

U.S. App. LEXIS 5144, *8 (3d Cir. Pa. Mar. 23, 2017).

        The United States is also cloaked with sovereign immunity and is immune from civil

liability, “except in cases where it consents to be sued. See United States v. Bormes, 133 S. Ct.

12, 16, 184 L. Ed. 2d 317 (2012).” Brooks v. Bledsoe, 2017 U.S. App. LEXIS 4539, *4-5 (3d
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Cir. Pa. Mar. 15, 2017). As with the Virgin Islands, “[t]he FTCA provides a limited waiver of

sovereign immunity as to the negligent acts of government employees acting within the scope of

their employment. 28 U.S.C. §§ 2671-80. However, the waiver is subject to exceptions, such as

the discretionary function exception, which provides that no liability shall lie for claims "based

upon the exercise or performance or the failure to exercise or perform a discretionary function or

duty . . . whether or not the discretion involved be abused." See 28 U.S.C. § 2680(a).” Brooks v.

Bledsoe, 2017 U.S. App. LEXIS 4539, *4-5 (3d Cir. Pa. Mar. 15, 2017).

        The waiver of sovereign immunity found in 33 V.I.C. Section 3408 is based on the

Federal Tort Claim Act, McBean v Gov.t of the V.I., 19 V.I. 383, 386 & n.1 (Terr. Ct. 1983)

cited in Brunn v. Dowdye, 59 V.I. 899, 908 (Supreme Ct. 2013).         Similarly to the FTCA, it

limits the terms of its waiver and as such, excludes injuries caused by the alleged gross

negligence of Government employees as a matter of law. Durant v. Husband, 28 F. 3d 12, 30

V.I. 409, (3d Cir. 1994).

        Hence, because the Plaintiffs had an opportunity to respond to the defense at oral

argument and can still do so at this time, the Court should consider whether it does, in fact, have

jurisdiction over this claim and whether sovereign immunity is applicable before proceeding

further in this matter.

        The exercise of the Court’s “discretion” in favor of deciding this issue at this juncture

would be consistent with the clear Supreme Court directive that questions of immunity should be

resolved at the earliest possible stage in litigation. Hunter v. Bryant, 502 U.S. 224, 227, 112

S.Ct. 534, 116 L.Ed. 589 (1991), cited in Thomas v. Independent Township, 463 F.3d 285,291

(3d Cir. 2006).
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        2. Vicarious Liability: In its Memorandum Opinion, the Court identified eight distinct

Counts in the First Amended Complaint and characterized them as claims against either the

Superior Court or Deputy Richardson. In that regard, Counts enumerated in the First Amended

Complaint as; I, II, VI and VII, were determined to have been brought against Deputy

Richardson. (ECF # 115 pg. 2). Count I, designated as a “42 USC Section 1983” Count, is

brought against Deputy Richardson in his individual capacity, (ECF # 115 pg. 4). Counts VI and

VII allege intentional tortious acts and Count II alleges the exercise of a “duty to exercise use of

his duties as a Territorial Marshal reasonably and within law.”

        With respect to the alleged duty listed in Count II, Defendants are unaware of, and

Plaintiffs have not cited to, any basis for such a duty or its application to Deputy Richardson. On

this basis alone, Count II fails to state a claim for relief against Deputy Richardson, or the

Superior Court, on the basis of vicarious liability.

        With respect to Counts VI and VII, neither the Court nor the Government can be held

vicariously liable for the alleged intentional acts of Deputy Richardson. In Thomas v. Roberson,

58 V.I. 662, 674, D.V.I. June 3, 2013) the Court stated:

        By limiting the waiver of its immunity from tort claims to harm “caused by
        the negligent or wrongful act or omission of an employee of the
        Government of the United States Virgin Islands while acting within the
        scope of his office or employment,” 33 V.I.C. § 3408(a) (emphasis added),
        the Government of the Virgin Islands maintains its sovereign immunity —
        pursuant to 48 U.S.C. § 1541(b) — for harm caused by its employees who
        were not acting within the scope of their employment. In other words, “the
        Government [of the Virgin Islands] is held liable for the acts of its
        employees, if, and only if, the latter are acting within the scope of their
        employment.” Mathurin v. Gov't of V.I., 398 F. Supp. 110, 113, 12 V.I. 23
        (D.V.I.                1975)               (emphasis               added).
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         The determination of whether an employee acted within the scope of his employment

under Virgin Islands law is made by looking to the Restatement of the Law of Agency.

Roberson, at 674-675 citing Anderson v. Gov't of V.I., 199 F. Supp. 2d 269, 275 (D.V.I. 2002);

Chase v. V.I. Port Auth., 3 F. Supp. 2d 641, 642, 38 V.I. 417 (D.V.I. 1998) and Charles v.

Mitchell, 21 V.I. 478, 481 (D.V.I. 1985).


         The Restatement (Third) of Agency (2006) § 7.07(1)-(2) provides in pertinent part:


       1) An employer is subject to vicarious liability for a tort committed by its
      employee acting within the scope of employment.

      (2) An employee acts within the scope of employment when performing work
      assigned by the employer or engaging in a course of conduct subject to the
      employer's control. An employee's act is not within the scope of employment
      when it occurs within an independent course of conduct not intended by the
      employee to serve any purpose of the employer.

Roberson at 675.

         Moreover the allegations of intentional infliction of emotional distress (Count VI) and

negligent intentional infliction of emotional distress1 ( Count VII), are not within the gambit of

the VITCA; neither are within the scope of the waiver. 33 VIC Section 3408(a). In addition

thereto the Plaintiffs have failed to make out a cause of action for either of these Counts upon

which any relief can be granted.

             In Int'l Islamic Cmty. of Masjid Baytulkhaliq v. United States, 981 F. Supp. 352, 369-

370, 37 V.I. 287, 314-315 (D.V.I. 1997) the District Court of the Virgin Islands discussed the

criteria for making a claim for intentional and negligent infliction of emotional distress.


         1
          Plaintiffs characterize this as negligent intentional infliction of emotional distress within the body of the
Count in the sentence numbered “59”.
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According to the Court “[a]n intentional infliction of emotional distress tort is committed when,

"one who by extreme and outrageous conduct intentionally or recklessly causes severe emotional

distress to another . . . ." Codrington v. Virgin Islands Port Auth., 33 V.I. 215, 911 F. Supp. 907

(D.V.I. 1996). The conduct must be extreme and outrageous. It is not enough that the defendant

acted with tortious intent or even that he acted with malice. RESTATEMENT (SECOND)

TORTS § 46(1), comment d (1965).” The Court emphasized that in support of such a claim, the

Plaintiffs are required “to state how the emotional distress was caused, or what outrageous

conduct caused it.” Id.

        Further, Plaintiffs are required to present facts showing that Deputy Richardson’s conduct was

outrageous. Unsubstantiated allegations and conclusions will not suffice. Plaintiffs must bring forth facts

in support of, and set forth any specific damages which the defendants have caused, and how these

damages were caused, by the unreasonable actions of the defendants. Id.

           Similarly, Plaintiffs must meet the required elements for a claim of negligent infliction of

emotional distress. Two elements are required to sustain a claim of negligent infliction of emotional

distress. First, the negligent conduct must have placed the plaintiff in danger of his or her own safety.

Second, the plaintiff must have suffered some physical harm as a result of the emotional distress.

Mingolla v. Minnesota Mining and Mfg. Co., 893 F. Supp. 499, 506 (D.V.I. 1995). See also Lempert v.

Singer, 26 V.I. 326, 766 F. Supp. 1356 (D.V.I. 1995) (there can be no liability for negligent infliction of

emotional distress absent any physical harm). Id.

        Plaintiffs herein have failed to allege any physical harm as a result of the distress. Accordingly,

per Int'l Islamic Cmty. of Masjid Baytulkhaliq v. United States, any claim for negligent infliction of

emotional distress must be dismissed for failure to state a claim upon which relief may be granted.

981 F. Supp. 369-370.
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        Accordingly, the Superior Court and Deputy Richardson respectfully request this

Honorable Court reconsider its ruling of May 16, 2017 as to the enumerated Counts IV and V

entitled “Gross Negligence” and “Vicarious Liability” and dismiss Counts IV and V of the First

Amended Complaint for the above stated reasons.




DATED: May 23, 2017                                   RESPECTFULLY SUBMITTED,


                                                      /s/_Paul L. Gimenez______
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                                       CERTIFICATE OF SERVICE



                I HEREBY CERTIFY that on the 23rd             day of May 2017, I caused a true and

correct electronic copy of the foregoing to be electronically filed with the Clerk of the Court

through the Court’s CM/ECF system with service on the following Filing Users:



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